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                IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION
In re:

SUSAN LANE SALAMY                                      CASE NO. 21-40178-KKS
                                                       CHAPTER 7
               Debtor.
_______________________________/

                  AGREED ORDER GRANTING HOMESTAR
                 FINANCIAL CORPORATION’S MOTION FOR
              RELIEF FROM THE AUTOMATIC STAY (DOC. NO. 30)

         THIS CASE came before the Court on the Motion for Relief from the

Automatic Stay (“Motion”) filed by Homestar Financial Corporation (“Movant”)

(Doc. No. 30). By submission of this order for entry, the submitting counsel

represents that the Chapter 7 Trustee consents to its entry. The Court, having

reviewed the Motion and the agreement of the Movant and the Chapter 7 Trustee,

finds it appropriate to grant the requested relief. Accordingly, it is

         ORDERED:

         1.     The Motion (Doc. No. 30) is granted.

         2.     Effective ninety (90) days after the date of entry of this Order, the

automatic stay arising by reason of 11 U.S.C. §362 of the Bankruptcy Code will be

terminated as to Movant’s interest in the following collateral:
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       AKA 409 E. Evans St., Bainbridge, Georgia 39819 (“collateral”).

       3.     Upon the effective date of this Order, Movant will have in rem relief to

take any and all steps necessary to exercise any and all rights it may have in the

collateral, to gain possession of said collateral, to have such other and further in rem

relief as is just, but the Movant shall not obtain in personam relief against the Debtor.

       DONE and ORDERED on _____________________________.
                             September 17, 2021



                                                    ___________________________
                                                    Karen K. Specie
                                                    U.S. Bankruptcy Judge

Order prepared by:
Gavin N. Stewart
P.O. Box 5703
Clearwater, FL 33758
Attorney Gavin Stewart is directed to serve a copy of this order on interested parties and file a
proof of service within 3 business days of entry of the order.
